         FIFTH DISTRICT COURT OF APPEAL
                STATE OF FLORIDA
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                      Case No. 5D2024-1124
                 L.T. Case No. 2009-CF-005115-A
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WINEL A. CASTRO-MOLINA,

    Appellant,

    v.

STATE OF FLORIDA,

    Appellee.
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3.800 Appeal from the Circuit Court for Seminole County.
Melanie Freeman Chase, Judge.

Winel A. Castro-Molina, Miami, pro se.

No Appearance for Appellee.

                        August 27, 2024

PER CURIAM.

    AFFIRMED. See Fla. R. App. P. 9.315(a).


EDWARDS, C.J., and LAMBERT and JAY, JJ., concur.
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Not final until disposition of any timely and
authorized motion under Fla. R. App. P. 9.330 or
9.331.
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